                Case 22-11068-JTD            Doc 1817        Filed 06/30/23        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the
admission pro hac vice of William R. Sears, Esquire of Quinn Emanuel Urquhart & Sullivan,
LLP to serve as special counsel to the Debtors in the above captioned cases.

Dated: June 30, 2023                                LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                    /s/ Matthew R. Pierce
                                                    Matthew R. Pierce (No. 5946)
                                                    919 Market Street, Suite 1800
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 467-4400
                                                    Facsimile: (302) 467-4450
                                                    Email: pierce@lrclaw.com




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

{1368.001-W0071449.}
             Case 22-11068-JTD         Doc 1817      Filed 06/30/23    Page 2 of 2




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
       Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court,
am admitted, practicing and in good standing as a member of the Bars of the States of California
and New York and submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify that I am
generally familiar with this Court’s Local Rules and with the Standing Order for District Court
Fund revised August 31, 2016. I further certify that the annual fee of $25.00 has been paid to the
Clerk of Court for the District Court.

Dated: June 30, 2023                         /s/ William R. Sears
                                             William R. Sears, Esquire
                                             QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
                                             865 S. Figueroa Street
                                             10th Floor
                                             Los Angeles, CA 90017
                                             Telephone: (213) 443-3000
                                             Email: willsears@quinnemanuel.com

                                ORDER GRANTING MOTION

    IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




       Dated: June 30th, 2023                           JOHN T. DORSEY
       Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE
